       Nashville Tennessean


Key Points
   Alisa Womack, who reported to independent investigators in 2022 abuse allegations against Southern Baptist
   Convention ex-president Johnny Hunt, comes forward for first time publicly.
   Federal judge strikes down most of Hunt's defamation case against SBC and third-party Guidepost Solutions,
   endorsing in an opinion the credibility of Guidepost's investigation and Womack's account.
   “Justice peeked out from behind the dark clouds, shining light on my path and propelling me forward into
   freedom,” Womack said about latest ruling and opinion.




Alisa Womack was up against a current after independent investigators published
her report accusing Johnny Hunt, a prominent Southern Baptist Convention pastor
and former SBC president, of sexually assaulting her.

Womack's accusations were included in a third-party report on abuse within the
SBC that sent shockwaves through the nation's largest Protestant denomination in
May 2022. The historic report from Guidepost Solutions also led to a defamation
lawsuit by Hunt and pushback from some Southern Baptists resistant to certain
reform.

Womack tried to maintain her anonymity and refrained from commenting on the
defamation case and other public statements that tried to sow doubt about findings


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of that inquiry. Meanwhile, following a hiatus prompted the report, Hunt reentered
public ministry and freely defended his side of the story in public.

But this week, that tide began to shift in Womack’s favor.

A federal judge struck down nearly all of Hunt’s defamation lawsuit against the SBC
and Guidepost that challenged Womack’s allegations in the report.

“Justice peeked out from behind the dark clouds, shining light on my path and
propelling me forward into freedom,” Womack said in a statement Wednesday, her
first-ever public remarks on the case.

Womack decided on her own to publicly identify herself and The Tennessean
received her statement and permission to use her name from her lawyers, Boz
Tchividjian and Melissa Hogan. Womack is coming forward for the first time
because of U.S. District Judge William Campbell’s recent decision and his analysis
of the credibility of Guidepost’s investigation.

After his ruling on Monday, Campbell published a lengthy opinion Tuesday night
that endorses Guidepost’s standards for evaluating abuse allegations such as
Womack’s. The opinion not only kneecaps Hunt’s main arguments, but it strikes at
the broader efforts by some Southern Baptists to minimize Guidepost’s diagnosis of
the abuse crisis within the denomination.

Campbell’s conclusions are a rebuke against accusations that Guidepost was too
sympathetic toward Womack and other victims of alleged abuse and was bent on
harming Southern Baptist ministers’ reputation. But Womack said the judge’s
opinion doesn’t compensate for all the pain she experienced the past three years.

“In the year following the release of the Report, I was dragged into a lawsuit, not of
my own making or desire,” Womack said in her statement. “With Judge Campbell’s
recent grant of summary judgment on all claims related to the Report, the weight I
carry was lightened just a bit.”

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Hunt’s attorney, Robert MacGill, did not respond to a request for comment.

Hunt was SBC president between 2009-2010 and the longtime pastor at Atlanta
area megachurch First Baptist Church (FBC) Woodstock before he became an
executive at an SBC mission agency. He resigned from that agency in the wake of
Guidepost’s report and two years ago filed suit as part of a larger strategy to restore
his image.

But Campbell said Hunt’s strongest defenses fell flat.

“Hunt does not direct the Court to any evidence of investigatory deficiencies from
which a reasonable jury could find that Guidepost failed to act with reasonable care
in ascertaining the truth,” the judge said in his April 1 opinion.




Womack felt her voice mattered when Guidepost investigators took her report
seriously during the firm's inquiry, though that sense of empowerment diminished
with fierce pushback to the May 2022 report and its section on Womack's
allegations.

“In 2022, I recounted painful details I would have preferred to forget... I also
described the years of emotional, mental, and spiritual weight in the journey toward
healing,” Womack said. “Silence gave way to voice, which finally had a true
hearing.”

Guidepost’s report detailed a July 2010 incident in Panama City, Florida in which
Hunt allegedly molested Womack, who’s more than 20 years his junior. Womack
and her husband, a pastor who Hunt mentored, and Hunt were vacationing in
Panama City at the same time.

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Hunt initially denied the encounter happened when he spoke to Guidepost
investigators before the May 2022 report published, but later acknowledged the
encounter happened in public statements and court filings. He still defends the
encounter was consensual and that Womack initiated it.

Hunt’s case took issue with Guidepost’s portrayal of the encounter with a deference
to Womack’s allegations of a nonconsensual encounter. But Campbell cited how
Guidepost independently corroborated Womack’s account through several other
interviews, and that Hunt had ample opportunity to be forthright about his side of
the story before the report was released.

“Hunt does not identify a single piece of evidence that Guidepost deliberately
ignored that would have undermined the statement that Hunt sexually assaulted
another pastor’s wife,” Campbell said in his April 1 opinion.

When Hunt sued the SBC and Guidepost, it swept up Womack. She is not a
defendant in the case but is party to it. For Womack, that entailed hiring lawyers,
participating in a lengthy deposition and disclosing personal records about her
health.

Yet another crisis confronted Womack around the same time when a writer for The
Daily Wire, a right-wing media website that had published other articles about
Hunt and Guidepost, authored an August 2024 book that named Womack without
her consent. Though Guidepost’s report and court filings in Hunt’s case referred to
Womack with a pseudonym, a momentary clerical error left her name unredacted in
a court document.

“Throughout this legal process, I have attempted to protect the privacy of my family
and my own healing,” Womack said. “This process made plain why many survivors
don’t come forward at all. The risk is obvious, the chance for justice obscure.”




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When Womack was fighting to protect her privacy, so was Hunt but for different
reasons.

Hunt argued Womack’s allegations against him in the Guidepost report are a
private matter, meaning the allegations against him warrant lower legal scrutiny.
Hunt argued the same applies to a letter that an SBC oversight group sent a Florida
church that has vouched for Hunt’s return to public ministry.

But Campbell said the entirety of Guidepost’s report, and not just certain sections of
it, and the other letter are “matters of public concern.” That distinction is important
not just for Hunt’s case, but likely for another defamation case against the SBC and
Guidepost dealing with abuse allegations against former seminary professor David
Sills.

The Sills case makes similar arguments to that of Hunt, and Campbell is the
presiding judge in that case, too.

The only outstanding defamation claim in Hunt’s case against the SBC deals with a
December 2022 social media post by then-SBC president Bart Barber that
characterized Hunt’s alleged abuse as a felony. But there’s still debate about
whether those alleged actions constitute a crime in Florida.

Attorneys for the SBC, Gene Besen and Scarlett Nokes, didn’t speculate on whether
this one outstanding claim will be decided at a previously scheduled trial for Hunt’s
case this June.

“As always, we will not comment on an ongoing litigation matter, however, we look
forward to bringing this matter to a complete conclusion,” Besen and Nokes said in
a statement Wednesday.

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